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                   UNITED STATES DISTRICT COURT
                  CENTRAL DISTRICT OF CALIFORNIA




    BEYOND BLOND                           2:20-cv-05581-DSF-GJSx
    PRODUCTIONS, LLC,
        Plaintiff,                         Order re Motion for Review of
                                           Magistrate Judge’s Order
                     v.

    EDWARD HELDMAN, III, et al.,
       Defendants.




          The Court has entered an order striking Defendant Edward
   Heldman III’s answer and ordered entry of Heldman’s default. Given
   this, Plaintiff is to file a statement indicating whether it still intends to
   seek disclosure of the materials at issue in Mandour & Associates,
   APC’s motion for review of the magistrate judge’s discovery order. The
   statement is due no later than April 21, 2025.

         IT IS SO ORDERED.



    Date: April 11, 2025                   ___________________________
                                           The Honorable Dale S. Fischer
                                           United States District Judge
